   Case 2:15-cv-03630-JFW-PJW Document 55 Filed 08/12/15 Page 1 of 1 Page ID #:180



                                UNITED STATES DISTRICT COURT                                            JS-6
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.      CV 15-3630-JFW (PJWx)                                              Date: August 12, 2015

Title:        Christopher Kastigar -v- Experian Information Solutions, Inc. et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                   None Present
              Courtroom Deputy                                 Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                      ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                   None

PROCEEDINGS (IN CHAMBERS):                 ORDER DISMISSING ACTION WITHOUT PREJUDICE


       As a result of the parties’ failure to file the Joint Rule 26(f) Report as required by the Court's
Order of June 25, 2015, this action is hereby DISMISSED without prejudice. The Scheduling
Conference, currently on calendar for August 24, 2015, is VACATED. See Fed. R. Civ. P. 41(b);
see also Yourish v. California Amplifier, 191 F.3d 983, 986-88 (9th Cir. 1999); Ferdik v. Bonzelet,
963 F.2d 1258, 1260 (9th Cir. 1992).



         IT IS SO ORDERED.




                                              Page 1 of 1                          Initials of Deputy Clerk sr
